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 3
     Henderson, NV 89052
 4   Telephone: (702) 617-3200
     Attorneys for Plaintiffs
 5

 6                                     UNITED STATES DISTRICT COURT
 7                                         DISTRICT OF NEVADA

 8
      ERNESTINE KAHALEKAI, an individual;
 9
      HERBERT KAHALEKAI, an individual;
10
      DARREN DUNG, an individual;                                CASE NO. 10-cv-01889
      BARNEY BRUCKEN, an individual;
11    MICHAEL KAWAIAEA, an individual;
      MFK UNLIMITED, LLC, a Nevada LLC,
12
                         Plaintiffs;
13
      v.
14
      PAULETTE KIMURA-SHIMABUKURO, an
15    individual; JAIMEE YOSHIZAWA, an individual;
      GRAND CANYON II LLC, a Nevada LLC;
16    JAIMEE YOSHIZAWA INC. d/b/a
17
      PACIFIC CONCEPTS, a Nevada corporation, and
      DOES I through X, inclusive;
18
                         Defendants.
19
           ORDER GRANTING DEFAULT JUDGMENT AGAINST DEFENDANT JAIMEE
20
                              YOSHIZAWA INC. d/b/a PACIFIC CONCEPTS
21

22
             Defendant Jaimee Yoshizawa Inc., d/b/a Pacific Concepts (“YOSHIZAWA INC.”) has failed
23
     to appear, plead or otherwise defend in this action. Default was entered on January 4, 2011, and
24
     counsel for Plaintiffs has requested judgment against the defaulted Defendant. Counsel for Plaintiffs
25
     has filed a proper Motion for Default Judgment (“Motion”) and Affidavit in accordance with Federal
26
     Rule of Civil Procedure 55(a) and 55(b).
27
             The Court, having reviewed the Motion, and having considered the pleadings and papers on
28
     file in this case, and good cause appearing therefore,

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 1      IT IS HEREBY ORDERED:

 2            1. The Motion is GRANTED in full.

 3            2. Judgment is hereby entered in favor of Plaintiffs Ernestine Kahalekai, Herbert

 4               Kahalekai, Darren Dung, Barney Brucken, and Michael Kawaiaea against Defendant

 5               YOSHIZAWA INC.

 6            3. Defendant YOSHIZAWA INC.is liable to Plaintiffs for the amounts owed on

 7               the default promissory notes, namely $597,374.80, with post-judgment interest

 8               to accrue at the highest rate allowable by law. The components of this

 9               judgment amount are:

10
                         Principal, E & H Note            $105,000.00
11                       Late Charge, E & H Note            $3,150.00
12
                         Principal, Darren Note           $250,000.00
13                       Interest, Darren Note            $181,541.10
                         Less Interest paid               ($15,600.00)
14                       Late Charge, Darren Note           $7,500.00
15
                         Principal, Barney Note            $20,000.00
16                       Late Charge, Barney Note             $600.00

17                       Principal, Michael Note 1         $30,000.00
18
                         Less Principal repaid             ($6,000.00)
                         Interest, Michael Note 1           $1,500.00
19                       Late Charge, Michael Note 1          $900.00
20                       Principal, Michael, Note 2        $13,000.00
21
                         Interest, Michael Note 2           $1,950.00
                         Late Charge, Michael Note 2          $390.00
22
                         Attorney’s Fees                     $3,443.70
23

24                       GRAND TOTAL                      $597,374.80

25               ///
                 ///
26
                 ///
27               ///
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 1            4. This order constitutes FINAL JUDGMENT against Defendant YOSHIZAWA INC.

 2               in this case.

 3                                               IT IS SO ORDERED.

 4

 5
                                                 U.S. DISTRICT JUDGE or CLERK OF COURT
 6

 7                                               DATED: June 10, 2011.
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